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Pro Se IS(Rev. 12/16)Complaint for Violation ofCivil Rights(Non-Prisoner)



                                      United States District Cour
                                                                       for the
                                                                     District of                                   ^^7202]
                                                                                Division

                   Ronald Gene Phillips Jr.
                                                                                   Case No.
                                                                            )
                                                                            )                      (to befilled in by the Clerk's Office)
                                                                            )
                            Plaintijffs)
(Write thejull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
                                                                            )
                                                                            )      Jury Trial: (check one)   □y     es     ✓ No
please write "see attached" in the space and attach an additional           )
page with thefull list ofnames.)                                            )
                                -V-                                         )
   City of Missoula Police Department, Chief Jaeson                         )
White, Cpt. R. Stepper Sgt M. Hebert, Officer J. Hebert,                    )
      Officer S. Tennison, Officer M.Hoffman, and                           )
                   unidentified officers                                    )
                          Defendant(s)                                      )
(Write thejull name ofeach defendant who is being sued. Ifthe               )
names ofall the defendants cannotfit in the space above,please              )
write "see attached"in the space and attach an additionalpage
with thefull list ofnames. Do not include addresses here.)



                                COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                        (Non-Prisoner Complaint)


                                                                      NOTICE

    Federal Rifles of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
    security number or full birth date; the frill name ofa person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits ofa social security number; the year ofan individual’s
    birth; a minor’s initials; and the last four digits ofa financial account number.

    Except as noted in this form,plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk’s Office with this complaint.

    In order for your complaint to be filed,it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




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I.        The Parties to This Complaint

          A.         The Plaintiff(s)


                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                       Ronald Gene Phillips Jr.
                           Address                                    355 South Russell Street
                                                                      Missoula                       MT                 59801
                                                                                 City                State              Zip Code
                           County                                     Missoula County
                           Telephone Number                          (406)830- 1897
                           E-Mail Address                            RonPhillips682@gmail.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person’s job or title (if known)and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                           Name                                       City of Missoula police department
                           Job or Title (ifknown)
                           Address                                    435 Ryman Street
                                                                      Missoula                       MT                  59802
                                                                               City                  State              Zip Code
                           County                                     Missoula
                           Telephone Number                           (406)552 - 6300
                           E-Mail Address (ifknown)

                                                                              Individual capacity   Official capacity


                     Defendant No. 2
                           Name                                       Jaeson White
                           Job or Title (ifknown)                     Police Chief
                           Address                                    435 Ryman Street
                                                                      Missoula                        MT                 59802
                                                                               City                  State              Zip Code
                           County                                     Missoula
                           Telephone Number                           (406)552 - 6300
                           E-Mail Address (ifknown)

                                                                          I Individual capacity     Official capacity




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                     Defendant No. 3
                           Name                                        R. Stepper

                           Job or Title (ifknown)                      Captain
                           Address                                    435 Ryman Street
                                                                       Missoula                          MT                 59802
                                                                                      City               State              Zip Code
                           Coimty                                      Missoula

                           Telephone Number                           (406)552 - 6300
                           E-Mail Address (ifknown)

                                                                               Individual capacity   ✓ Official capacity


                     Defendant No.4
                           Name                                        M. Hebert

                           Job or Title (ifknown)                      Sergeant
                           Address                                    435 Ryman Street
                                                                       Missoula                           MT                59802
                                                                                      City               State              Zip Code

                           County                                      Missoula

                           Telephone Number                           (406)552 -6300
                           E-Mail Address (ifknown)

                                                                               Individual capacity      Official capacity

n.         Basis for Jurisdiction


           Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws].”         Bivens v. Six Unknown Named Agents of
           Federal Bureau ofNarcotics, 403 US. 388(1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply)'.

                            Federal officials (a Bivens claim)

                      ^ State or local officials (a § 1983 claim)


           B.         Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                      1st, 4th, 6th and 8th amendment to the United States Constitution




           C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                      are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                      officials?


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          D.         Section 1983 allows defendants to be found liable only when they have acted “under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                     In March 2021 I was peacefully sitting on public property at the public bus station waiting for public
                     transportation to arrive watching YouTube videos on my phone I noticed a police car near the end of the
                     police stations parking lot stopped with their brake lights on I thought nothing of it and went back to
                     peacefully watching YouTube at the public transit center(see attached statement of claim)



III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claim(s) occur?
                     Missoula city police department 435 ryman street public parking iot




         B.          What date and approximate time did the events giving rise to your claim(s) occur?
                     on or around 3-23-21




          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                     see attached statement of claim




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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive,
         when the captain initially assaulted and kidnapped me the force of the arm twist and shove put strain on my
         already disabled back and causing a great deal of harm as I was being kidnapped I was being shoved harder
         than I could walk due to my physical back disabilty this created great pressure and pain in my right hip from the
         strain bein put on my back when the co-conspirators were holding me against the bike rack to scream their
         propaganda at me they had my disabled back bent in a way that caused debilitating pain that I still feel to this
         day my wrists hurt for several days from the co-conspirators bending them in an unatural way against the metal
         bike rack I am also schizophrenic and this event triggered my disease and it is now replayed over in my head on
         a re-occuring basis and will be indefinately




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages,include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
          I am requesting Constitutional awareness training be mandatory for every employed and future employed officer
         of the Missoula Police department. As all of these rights are clearly established refresher courses seem to be
          needed

          Mental health evaluations for all officers currently employed or about to be employed and yearly mental health
          evaluations for every employed officer forever I feel the mental health of some of the officers involved may be
          questionable and to ensure the safety of the public mental health screenings are imperative

          money compensation for punitive dmages in the amount of $1,234,567.89 for physical pain caused and the long
          lasting schizophrenic episodes I have had currently have and will have for the rest of my life




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VI.      Certification and Closing

         Under Federal Rule of Civil Proeedure 11, by signing below,I eertify to the best of my knowledge, information,
         and belief that this eomplaint:(1)is not being presented for an improper purpose, sueh as to harass, eause
         unneeessary delay, or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
         nonfirivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.


                     Date of signing:                      08/27/^21


                     Signature of Plaintiff
                     Printed Name of Plaintiff               Ronald Gene Phillips Jr.


         B.          For Attorneys


                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name ofLaw Firm
                      Address


                                                                               City         State          Zip Code

                      Telephone Number
                      E-mail Address




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statement of Claim

In March 2021 I was peacefully sitting on public property at the public bus station waiting for
public transportation to arrive watching YouTube videos on my phone I noticed a police car near
the end of the police stations parking lot stopped with their brake lights on I thought nothing of it
and went back to peacefully watching YouTube at the public transit center about 6 minutes had
passed and my YouTube video had ended at which point I looked up again and seen the same
unknown officer still sitting at the end of the parking lot, but I notice that he had moved his rear
view mirror and that he had been watching me so I exercised our first amendment right of
freedom of expression and extended my middle finger to the officer staring at me and I then
seen him grab his radio put it to his mouth and then drive off I went back to peacefully sitting at
the public bus station awaiting the arrival of my public transportation and watching YouTube
what it had done was violate my 1st amendment right to freedom of expression and called
Officer S. Tennison who then came out and made contact with me and always for my safety I
stopped peacefully watching YouTube while sitting at the public transportation public transfer
center and I started recording this unsolicited unwarranted unwanted terry stop the officer told
me someone called stating that I was touching cars I asked her if it looked like I was she told me
the report is that I am touching vehicles I asked her who called she told me I did not need to
know any of that violating my 6th amendment right to confront my accusers and bring forth
witnesses I then stood from peacefully sitting at our public transportation city owned property
and proceeded to walk towards the public police department via the public police departments
public parking lot the officer told me not to walk towards her i asked if I was being detained she
failed to answer I continued peacefully walking towards the public police department through
their public parking lot towards the public city hall the officer told me not to walk towards her
again and stepped back I continued peacefully walking on public areas to the public police
department and enter through the public entrance to the window the general public go for
assistance from the public servants at the police department and 1 unidentified female officer
and officer M. Hoffman stopped me and instructed me to stand inside their foyer I did as
instructed and told them I was trying to find out who made a complaint on me and they then
asked me to go outside I again asked if I was being detained at this time officer S. Tennison
said I was being detained now and I asked why she then states there is a report of me taking
pictures of vehicles and touching vehicles I asked her if she seen me touching vehicles she then
stated she was just trying to have a conversation with me and I asked her again why I was
being detained officer M. Hoffman then said let’s go outside dude while another officer asked
my name I refused to identify as I had done nothing wrong I was just peacefully sitting at our
public city owned public transportation property enjoying my freedom and exercising my rights
and told them to just take me to jail we can deal with it there as I was saying this captain r.
Stepper was walking into the public building himself and heard me saying to take me to jail and
we will deal with it there when he heard that he grabbed my arm and twisted it behind my back
causing physical pain he had not been part of this illegal detainment prior to this point he simply
came in and physically assaulted me and kidnapped me forcing me to go where he wanted
 which was outside violating our 4th amendment right once I was outside he told me if I did not
 have official business here that I had to leave I told him that I did have official business here he
then grabbed my right arm physically assaulting me again and pushed my hand I was recording
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in down he then through me against a bike rack in a cruel and unusual way and sgt hebert and
officer hebert physically assaulted me holding my left arm in a contorted way against the bottom
of the bike rack they kidnapped me and forced me to some 25 feet away causing me physical
pain the 3 of them and 2-3 other surrounding unidentified officers in an intimidating way pinned
me to a bike rack and cpt r. Stepper yelled at me telling me to act how he wanted violating my
first amendment right of expression he then while having 2 other co-conspirators illegally
restrain me and several others stand around intimidating me he physically pushed my pinned
hand causing tremendous harm letting me go only after giving me a speech on how he thinks
the law goes I then put my camera back up as I was freed and cpt r. Stepper told me how he
wanted me to act again and told me not to record he then proceeded to physically assault me
again telling me and physically manipulating my body showing me how to record violating our
1st amendment right again I refused to comply and told him I will record what I want cpt r.
Stepper then said ok turned around and started to walk inside I started to walk away and officer
J. Hebert then informed me that nobody in fact had called stating I was touching cars making
any sort of detainment a violating of our 4th amendment right to illegal search and seizure and
many torts she then told me the reason for the stop was because I had previously went around
following them (the police department) and filming them (again the police department) violating
our 1st amendment right and showing maliciousness and misconduct I asked why I was being
detained then and officer J. Hebert told me nobody was detaining me and I told her officer
Tennison was detaining me and asked why again officer J. Hebert nor officer tennison
answered on why I was being detained so I asked if I was free to go and officer J. Hebert said
yep I told her If I was free to go I was free to stay then the mob of co-conspirators then ended
their mass campaign of intimidation and went insider the public police department I continued to
assert our first amendment right to record in publicly accessible areas and as I went to the door
sgt hebert threatened me with kidnapping again and went inside
